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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

 JL POWELL LLC and                              )
 JL POWELL CLOTHING LLC,                        )
                                                )
                       Plaintiffs,              )
                                                )
 v.                                             ) Docket No. 2:13-cv-160-NT
                                                )
 JOSHUA L. POWELL, individually                 )
 and doing business as THE FIELD,               )
 doing business as THE FIELD                    )
 OUTFITTING, doing business as THE              )
 FIELD OUTFITTING COMPANY,                      )
                                                )
                       Defendant.               )


   ORDER ON CONSENT MOTION FOR ENTRY OF STIPULATED FINAL
      JUDGMENT AND DECREE OF PERMANENT INJUNCTION

       Before me is a Stipulation for Final Judgment and Decree of Permanent

Injunction (ECF No. 124). The parties have litigated this matter for over two years,

including through multiple preliminary injunction hearings, motions to dismiss,

amended complaints and counterclaims, and an interlocutory appeal to the First

Circuit. Both sides have been subject to my preliminary injunctive order since

January of 2014.1 The Defendant is presently proceeding pro se, but he is a

sophisticated businessman who was represented by the law firm DLA Piper for nearly

two years of litigation. The parties do not wish to contest this matter any further and

have presented a stipulated final judgment that includes temporary and permanent




1      See Order on Parties’ Competing Mots. for Prelim. Inj. and on Def.’s Mot. to Supplement the
Record (ECF No. 80); see also Order Revising Prelim. Inj. Relief (ECF No. 106).
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injunctive relief. The parties have waived entry of findings of fact and conclusions of

law and waived any right they may have to appeal. By the terms of the stipulated

final judgment, each side has agreed to give something up.

       The Plaintiffs have provided examples—from outside this circuit—in which

district courts have entered final judgments that included permanent injunctive relief

on the stipulation of private parties and in which the litigants have waived findings

of fact, conclusions of law, and any right to appellate review.2 I can envision cases in

which I would decline to extend the court’s equitable power to grant injunctive relief

to private parties seeking to end litigation by consent. Here, however, where the

litigation has been hard-fought on both sides, where there is not a great disparity in

the bargaining power of the sides, where each party has decided to give something up

in final judgment, and where both sides have expressed a desire to move on from this

suit, I find it appropriate to enter the parties’ stipulated judgment.


                                         CONCLUSION

        For the reasons stated above, I GRANT the parties’ Consent Motion for Entry

of Stipulated Final Judgment and Decree of Permanent Injunction (ECF No. 125) and

ENTER the Stipulation for Final Judgment and Decree of Permanent Injunction

(ECF No. 124).




2      See Consent Mot. for Entry of Stipulated Final J. and Decree of Permanent Inj. with
Incorporated Mem. of Law (ECF No. 125) (citing New York State Soc’y of Certified Pub. Accountants v.
Eric Louis Ass’n, Inc., 79 F.Supp.2d 331, 333-38 (S.D.N.Y. 1999); Sunbeam Corp. v. Payless Drugstores,
147 F.Supp. 920, 921 (N.D. Ca. 1956)). The Plaintiffs also cite three tax-related enforcement actions
brought by the United States pursuant to statutorily-granted enforcement power. I find those cases
minimally helpful here, where neither party is invoking Congressionally-bestowed enforcement power.


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SO ORDERED.

                                         /s/ Nancy Torresen
                                         United States Chief District Judge

Dated this 1st day of July, 2015.




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